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                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        STEPHEN H. TURNER, SB# 89627
                      2   E-Mail: Stephen.Turner@lewisbrisbois.com
                        PATRIK JOHANSSON, SB# 231769
                      3   E-Mail: Patrik.Johansson@lewisbrisbois.com
                        633 West 5th Street, Suite 4000
                      4 Los Angeles, California 90071
                        Telephone: 213.250.1800
                      5 Facsimile: 213.250.7900
                      6 Attorneys for HARCOURTS PRIME
                        PROPERTIES
                      7
                      8                                   UNITED STATES DISTRICT COURT
                      9                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                     10
                     11 JORGE VALDES,                                        CASE NO. 8:20-CV-00469-JLS-DFM
                     12                      Plaintiff,                      NOTICE OF SETTLEMENT
                     13             vs.
                     14 PREFERRED GROUP PROPERTIES,                          Trial Date:   None Set
                        INC., a California Corporation dba
                     15 HARCOURTS PRIME PROPERTIES,
                     16                      Defendants.
                     17
                     18
                     19 TO THE HONORABLE COURT:
                     20            Counsel for Plaintiff Jorge Valdes (“Plaintiff”) and Defendant Preferred Group
                     21 Properties, Inc. dba Harcourts Prime Properties (“Defendant”) hereby notify this Court
                     22 they have reached a settlement in this matter. This settlement will resolve all pending
                     23 claims associated with this action, individually.
                     24            The parties request this Court to vacate any future dates, and set a Settlement
                     25 Disposition Conference in approximately 180-days. This will allow the parties to
                     26 finalize the settlement agreement and file their Joint Motion for Dismissal.
                     27

LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP
                          4842-5279-7929.1                               1
ATTORNEYS AT LAW                                                NOTICE OF SETTLEMENT
                   Case 8:20-cv-00469-JLS-DFM Document 43 Filed 05/10/21 Page 2 of 3 Page ID #:368




                      1 DATED: May 10, 2021               LEWIS BRISBOIS BISGAARD & SMITH LLP
                      2
                                                          By:         /s/ Stephen H. Turner
                      3                                         STEPHEN H. TURNER
                      4                                         Attorneys for HARCOURTS PRIME
                                                                PROPERTIES
                      5
                      6
                      7 DATED: May 10, 2021               KAUFMAN P.A.
                      8
                      9                                   By:         /s/
                     10                                         Avi Kaufman
                                                                Rachel Kaufman
                     11                                         Attorney for Plaintiff, JORGE VALDES
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& SMITH LLP
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ATTORNEYS AT LAW                                      NOTICE OF SETTLEMENT
                   Case 8:20-cv-00469-JLS-DFM Document 43 Filed 05/10/21 Page 3 of 3 Page ID #:369




                      1                       FEDERAL COURT PROOF OF SERVICE
                                 Valdes v. Harcourts Prime Properties - Case No. 8:20-cv-00469-JLS-DFM
                      2
                          STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                      3
                              At the time of service, I was over 18 years of age and not a party to the action.
                      4 My business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071. I
                        am a member of the bar of this Court.
                      5
                              On May 10, 2021, I served the following document(s): NOTICE OF
                      6 SETTLEMENT
                      7         I served the documents on the following persons at the following addresses
                          (including fax numbers and e-mail addresses, if applicable):
                      8
                        Rachel E. Kaufman, Esq.                       Attorney for Plaintiff and Putative
                      9 Kaufman P.A.                                  Classes
                        400 NW 26th Street
                     10 Miami, FL 33127
                        (305) 469-5881 Tel.
                     11 Rachel@kaufmanpa.com
                     12
                                   The documents were served by the following means:
                     13
                                  (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically
                     14            filed the documents with the Clerk of the Court using the CM/ECF system,
                                   which sent notification of that filing to the persons listed above.
                     15
                             I declare under penalty of perjury under the laws of the United States of
                     16 America and the State of California that the foregoing is true and correct.
                     17            Executed on May 10, 2021, at Los Angeles, California.
                     18
                     19                                                /s/
                                                                    Debbi Humphrey
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BISGAARD                  4842-5279-7929.1
& SMITH LLP
ATTORNEYS AT LAW                                           NOTICE OF SETTLEMENT
